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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re                                                        Chapter 11

WOODBRIDGE GROUP OF                                          Case No. 17-12560 (JKS)
COMPANIES, LLC, et al.,1
                                                             (Jointly Administered)
                              Remaining Debtors.
                                                             Ref. Docket No. 4737

              TWELFTH ORDER, PURSUANT TO BANKRUPTCY RULES
       9006 AND 9027, FURTHER EXTENDING THE PERIOD WITHIN WHICH THE
        LIQUIDATION TRUST AND ITS SUBSIDIARIES MAY REMOVE ACTIONS
                           PURSUANT TO 28 U.S.C. § 1452

          Upon consideration of the motion (the “Motion”)2 of the Liquidation Trust for the entry of

an order, pursuant to Bankruptcy Rules 9006 and 9027, further extending the period within which

the Liquidation Trust may remove actions pursuant to 28 U.S.C. § 1452 through and including

September 16, 2022 and all pleadings related thereto; and due and proper notice of the Motion

having been given; and it appearing that no other or further notice of the Motion is required; and

it appearing that the Court has jurisdiction to consider the Motion in accordance with 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and it appearing that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and

the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court

having found and determined that the relief requested in the Motion is in the best interest of the




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    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
    follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
    (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, CA 91203.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Debtors, their estates, their creditors, and all parties in interest; and after due deliberation and good

and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The time period provided by Bankruptcy Rule 9027 within which the

Liquidation Trust and each of its direct and indirect subsidiaries, including, but not limited to, the

Wind-Down Entity and the Remaining Debtors, may file notices of removal of claims and causes

of action is further enlarged and extended through and including September 16, 2022 (the

“Removal Deadline”).

                3.      This Order shall be without prejudice to the rights of the Liquidation Trust

and each of its direct and indirect subsidiaries, including, but not limited to, the Wind-Down Entity

and the Remaining Debtors to seek further extensions of the Removal Deadline.

                4.      This Court shall retain jurisdiction and power to hear and determine all

matters arising from or related to the implementation of this Order.




     Dated: March 15th, 2022                                   J. KATE STICKLES
     Wilmington, Delaware                                      UNITED STATES BANKRUPTCY JUDGE




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